
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division, insofar as appealed from, reversed, with costs, and the judgment of the Court of Claims should be reinstated, for the reasons stated in the dissenting memorandum at the Appellate Division.
The trial court “by necessary implication from its award of consequential damages” found the loss of direct access rendered the property unsuitable for its highest and best use (Priestly v State of New York, 23 NY2d 152, 155).
Chief Judge Cooke and Judges Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur; Judge Jasen dissents and votes to affirm for reasons stated in the memorandum of the Appellate Division (81 AD2d 744).
Order, insofar as appealed from, reversed, with costs, and the judgment of the Court of Claims reinstated in a memorandum.
